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Fill in this information to identify the case:
Debtor Name PS of Denver, Inc
United States Bankruptcy Court for the: District of Colorado
. 30-16375 CF Check if this is an
Case number; Sone amended filing
Official Form 425C
NMionthiy Operating Report for Small Business Under Chapter 11 127
Month: December 2020 Date report filed: 01/19/2021
MMI DDAYYYY
Line of business: Flooring NAISC code:
In accordance with title 28, section 1746, of the United States Code, I declare under penaity of perjury
that | have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.
Responsible party: PE
ee
Original signature of responsible party 2"
Printed name of responsible party Brett Martin
a 1. Questionnaire
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
Yes No NIA
if you answer No to any of the questions in lines 1-8, attach an explanation and label it Exhibit A.
1. Did the business operate during the entire raporting period? a] Q OJ
2. Oo you plan to continue to operate the business next month? wi C Q
3. Have you paid all of your bills on time? wi Qo im
4. Did you pay your employees on time? Oo Cy of
5. Have you deposited ail the receipts for your business into debtor in possession (DIP) accounts? Pi QO Q]
6. Have you timely filed your tax returns and paid all of your taxes? wd C] a
7. Have you timely filed all other required government filings? id ae Q
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator? @ a
9. Have you timely paid all of your insurance premiums? 4 Q QO
If you answer Yes to any of the questions in fines 10-1 8, attach an explanation and label it Exhibit 8.
10. Do you have any bank accounts open other than the DIP accounts? C) wf a
11. Have you sold any assets other than inventory? Q @ L)
42. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? ) Ww QO
13. Did any insurance company cancel your policy? | wf CJ
14. Did you have any unusual or significant unanticipated expenses? Q wf Q)
15. Have you borrowed money from anyone or has anyone made any payments on your behalf? QO wf Ql
Q WwW qQ

16. Has anyone made an investment in your business?

Official Form 425C Monthly Operating Report for Small Business Under Chapter 44 page £
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Debtor Name PS of Denver, Inc Case number_20-16375

17. Have you paid any bills you owed before you filed bankruptcy?

Oo
&l &l
Oo

18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?

 

P| 2. Summary of Cash Activity for All Accounts

19. ¥otal opening balance of all accounts
¢ 36,567.30

This amount must equal what you reported as the cash on hand at the end of the month in the previous
month. if this is your first report, report the total cash on hand as of the date-of the filing of this case.

20. Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here.

21, Total cash disbursements

' Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. Include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf. Do not attach bank statements

in teu of Exhibit D. = 5 112,196.55
Report the total from Exhibit D here.

§ 84,022.02

22. Net cash flow
+ § -28,174.53

Subtract line 21 from line 20 and report the resu't here.
This amount may be different from what you may have calculated as net profit.

23. Cash on hand at the end of the month
Add line 22 + line 19. Report the result here.
; se ; = $8,392.77
Report this figure as the cash on hand at the beginning of the month on your next operating report. =

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

 

3. Unpaid Bills
- Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
.. have not paid. Label it Exhibit &. include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here,

24. Total payables g 30,322.02

(Exhibit E)

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 2
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Debtor Name PS of Denver, Inc Case number 20-16375

sy 4, Money Owed to You

 

 

Attach a list of all anounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from

Exhibit F here.
25. Total receivables $ 0.00
(Exhibit F)

 

 

| 5, Employees
6
4

26, What was the number of empicyees when the case was filed?
27. What is the number of employees as of the date of this monthly report?

 

 

iz 6. Professional Fees

. How much have you paid this month in professional fees related to this bankruptcy case? $___5,000.00
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ __30,000.00
30, How much have you paid this month in other professional fees? s___ 9.00
34. How much have you paid in total other professional fees since filing the case? $ 0.00

 

ne 7. Projections

 

Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.

 

 

Column A Column B Column C
Projected — Actual = Difference
Copy lines 35-37 from Copy lines 20-22 of Subtract Column B
the previous month’s this report. from Column A.
report.
32. Cash receipts ¢ 229,000.06 ~ g 84,022.02 = $ 135,977.98
33. Cash disbursements $ 210,000.00 _ §. 112,196.55 = $. 97,803. “s .
Eo ONES EN - poe oe
" 100,000.00 “os 28,174.53 = 8 128,174.53 -

34, Net cash flow

 

g 120,000.00
- § 80,000.00

35. Total projected cash receipts for the next month:
36. Total projected cash disbursements for the next month:

37. Total projected net cash flow for the next month: =g 40,000.00

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 14 page 3
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Debtor Name PS of Denver, Inc Case number 20-16375

a 8. Additional Information

if available, check the box to the left and attach copies of the following documents.

@@ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

& 39. Bank reconciliation reports for each account.
L) 40. Financial reports such as an income staternent (profit & joss) and/or balance sheet.
CJ] 41. Budget, projection, or forecast reports.

[3 42. Project, job costing, or work-in-progress reports.

Official Form 425¢ Monthly Operating Report for Small Business Under Chapter 11 page 4
 

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12/2/2020 Trnsfr from Merchant Processing
12/10/2020 Stop Payment
12/11/2020 Wholesale Direct
12/11/2020 Customer Payment
12/22/2020 Trnsfr from Merchant Processing
12/30/2020 Trnsfr from Merchant Processing
12/30/2020 Trnsfr from Merchant Processing
12/7/2020 Customer Payment
12/11/2020 Customer Payment
12/14/2020 Customer Payment
12/18/2020 Customer Payment

Total

4,000.00
1,050.00
1,079.30
4,428.49
5,000.00
4,000.00
5,000.00
$ 16,580.60
§ 18,836.27
$ 18,000.00
$ 6,047.36

Wmwn mm HH 1H

S 84,022.02

4,000.00
1,050.00
1,079.30
4,428.49
5,000.00
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§ 16,580.60
§ 18,836.27
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$ 6,047.36

VY MH i 1H YH

Ti i Mm

 

$ 84,022.02

 

Customer Order
Customer Order
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Customer Order
 

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Cleared Checks

 

 

Check# |= Amount Vendor |Description
S 590.00 Victor Esquivel Warehouse Help
S 790.00 Victor Esquivel Warehouse Help
$ 1,050.00 Pryme Consumer Servicing Warehouse Help
$ 1,180.00 Norma Miramontes Admin Help
S$ 1,500.00 Ryan Heagle Sales Consultant
S 1,896.86 Michael Thompson Warehouse Help
S 2,750.00 Jennifer Byrd Admin Help
S$ 1,145.00 Bensons Roll off Trash Vendor
S 577.26 Daltile Product:
S 940.00 Victor Esquivel Warehouse Help
S 700.00 Ben Romero Sales Consultant
S 2,750.00 Jennifer Byrd Admin Help
20010 S$ 1,740.00 Norma Miramontes Admin Help
20011 $ 850.04 Michale Thompson Warehouse Help
20012 $ 420.00 Drew Bohnke Warehouse Help
20013 $ 2,511.06 7th Ave LLC Customer Refund
20014 $ 5,665.79 7th Ave LLC Customer Refund
20015 $ 730.00 Jeus Guzman Warehouse Help
20016 $ 880.00 Jose Casillas Warehouse Help
20017 S$ 2,000.00 Daniel Chavez Sales Consultant
20018 S$ 18,836.27 Shanna Tauck Customer Refund
20019 $ 800.00 Alberto Urado Warehouse Help
20020 $ 2,889.70 Jennifer Byrd Admin Help
20022 S 2,190.00 Ben Romero Sales Consultant
EFT S 4,666.01 Atlas Products Product
EFT § 1,000.00 Brett Martin Expense Reimbursement - Warehouse Labor
EFT S 1,000.00 Brett Martin Pay
EFT § 5,100.00 Pacific Solutions New Software
EFT 5 284.14 Google G-Suite
EFT S 2,001.32 Gary Ellis Product
EFT S 370.87 Brett Martin Expense Reimbursement
EFT § 1,000.00 Brett Martin Expense Reimbursement - Warehouse Labor
EFT S 1,067.94 Wholesale Direct Product
EFT S 1,079.30 Wholesale Direct Product
EFT S 1,079.30 Gary Ellis Product
EFT S 400.00 Wholesale Direct Product
EFT S 900.00 Wholesale Direct Product
EFT S 1,262.21 Comcast Phones, Internet
EFT S 1,400.00 Wholesaie Direct Product
EFT S 2,000.00 Brett Martin Expense Reimbursement - Warehouse Labor
EFT S 225.00 Pacific Solutions New software
EFT S 10,526.96 United Healtcare Healthcare Premiums
EFT S 500.00 US Bank Business cc
EFT S 1,000.00 Brett Martin Expense Reimbursement - Warehouse Labor
EFT S$ 1,000.00 Stephanie Martin Admin Help

 
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EFT 281.21 Wholesale Direct Product
EFT 340.00 Wholesale Direct Product
EFT 2,765.00 Isogent Old Software mnthly fees

EFT 500.00 US Bank Business cc

$
$
$
EFT $ 15,065.31 PS of Baton Rouge Product
$
Total $ 112,196.55
Case:20-16375-TBM Doc#:103 Filed:01/21/21 Entered:01/21/21 13:18:26 Pages of 22

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

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se:20-16375-TBM Doc#:103 Filed:01/21/21 Entered:01/21/21 13:18:26 Pageii of 22
Business Statement

bank. Account Number:

 

amma.
P.Q. Box 1800 987
Saint Paul, Minnesota 55101-0800 Statement Period:
247 IMG S Y stot Dec 1, 2020
—_— through
Dec 31, 2020
yey
Page 1 of 7
Offaly fend feeffeeedfpgfalpe Typ Up Pephfedlpy pdb ply
000013925 01 SP 000638681 112909 E
ESTATE OF PRO SOURCE OF DENVER INC a To Contact U.S. Bank
DEBTOR IN POSSESSION .
BANKRUPTCY CASE # 20-16375-TBM 24-Hour Business
730 S JASON ST UNIT 18 Solutions: 1-800-673-3555
DENVER CO 80223-2832
U.S. Bank accepts Relay Calls
internet: usbank.com

 

 

 

 

Price changes for U.S. Bank Business Checking, Savings and Treasury Management Services are effective Jan. 1, 2021.
You can view revised pricing (only those prices that changed) at https://cashmgmt.usbank.com/repricing beginning Dec. 1, 2020.
Please enter the Access Code listed below to view price changes that may apply. If you experience difficulty accessing this
information, please call Customer Service at the number listed in the upper right corner of this statement or send an email to
commercialsupport@usbank.com.

Access Code: EE-6768-18A5-7FB8

Thank you for choosing U.S. Bank. We would like to inform you of upcoming changes that may impact your account. The chart
below lists account modifications that go into effect beginning January 1, 2021.

To determine if these changes will impact you, review the ‘Analysis Service Charge Detail’ section of this statement for your
current usage of these services. This is typically found on the last page.

If you have any questions or would like to discuss your account options, please call us at 1.800.673.3555. We accept relay
calls.

 

 
=” To keep track of all your transactions, you should balance your account every month. Please
examine this statement immediately. We will assume that the balance and transactions shown are

correct unless you notify us of an error.

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ts ank BALANCE YOUR ACCOUNT

Outstanding Deposits
TE 1. List any deposits that do not appear on your statement in the Outstanding Deposits section at

the left. Record the total.

2. Check off in your checkbook register all checks, withdrawals (including Debit Card and ATM)
and automatic payments that appear on your statement. Withdrawals that are NOT checked off

 

OTAL should be recorded in the Outstanding Withdrawals section at the left. Record the total.
Outstanding Withdrawals Enter the ending balance shown on this statement. $.
Enter the total deposits recorded in the Outstanding Deposits section. $
Total lines 3 and 4. $

Enter the total withdrawals recorded in the Outstanding Withdrawals section. $

Subtract line 6 from line 5. This is your balance. $

ON Am db w

Enter in your register and subtract from your register balance any checks, withdrawals or other
debits (including fees, if any) that appear on your statement but have not been recorded in your

register.

9. Enter in your register and add to your register balance any deposits or other credits (including
interest, if any) that appear in your statement but have not been recorded in your register.

10. The balance in your register should be the same as the balance shown in #7. Ifit does not
match, review and check all figures used, and check the addition and subtraction in your register.
If necessary, review and balance your statement from the previous month.

OTAL $

 

IMPORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS
In Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers
If you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days* after we sent you
the FIRST statement on which the error or problem appeared. Telephone us at the number listed on the front of this statement or write to us at U.S. Bank, EP-MN-WSS5D, 60 Livingston
Ave., St. Paul, MN 55107.
« Tell us your name and account number.
* Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need more information.
e Tell us the dollar amount of the suspected error.
We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time, we may take up to 45 days to
investigate your complaint. For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint. If we decide to do this,
we will credit your account within 10 business days for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation. If
we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account:

“Please note: Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement.

IMPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS
Errors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, including the
rules of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time. If you think this statement is wrong, please telephone us at the number

listed on the front of this statement immediately.

CONSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE

What To Do If You Think You Find A Mistake on Your Statement

If you think there is an error on your statement, write to us at:

U.S. Bank, P.O. Box 3528, Oshkosh, Wi 54903-3528.

In your letter, give us the following information:

¢ Account information: Your name and account number.

« Dollar Amount: The dollar amount of the suspected error.

* Description of problem: lf you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.

You must contact us within 60 days after the error appeared on your statement.
You must notify us of any potential errors in writing. You may call us, but if you do we are not required to investigate any potential errors and you may have to pay the amount in question.

While we investigate whether or not there has been an error, the following are true:

® We cannot try to collect the amount in question, or report you as delinquent on that amount.
* The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to

pay the amount in question or any interest or other fees related to that amount.
« While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
e We can apply any unpaid amount against your credit limit.
Reserve Line Balance Computation Method: To determine your Balance Subject to Interest Rate, use the dates and balances provided in the Reserve Line Balance Summary section.
The date next to the first Balance Subject to Interest is day one for that balance and is applicable up to (but not including) the date of the next balance (if there is one). We multiply the
Balance Subject to Interest by the number of days it is applicable and add them up to get the same number of days in the billing cycle. We then divide the result by the number of billing i
days in the cycle. This is your Balance Subject to Interest Rate. Any unpaid interest charges and unpaid fees are not included in the Balance Subject to Interest. The ““INTEREST i
CHARGE*** begins from the date of each advance. .

REPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.

CONSUMER REPORT DISPUTES
We may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA). As a result, this

may prevent you fram obtaining services at other financial institutions. If you believe we have inaccurately reported information to a CRA, you may submit a dispute by calling 844.624.8230
or by writing to: U.S. Bank Attn: Consumer Bureau Dispute Handling (CBDH), P.O. Box 3447, Oshkosh, WI 54903-3447. In order for us to assist you with your dispute, you must provide:
your name, address and phone number, the account number; the specific information you are disputing; the explanation of why it is incorrect; and any supporting documentation (e.g.,

affidavit of identity theft), if applicable.

EQUAL HOUSING

Member FDIC LENDER
-16375-TBM Doc#:103 Filed:01/21/21 Entered:01/21/21 13:18:26 Page13 of 22
n ESTATE OF PRO SOURCE OF DENVER INC Business Statement
* DEBTOR IN POSSESSION ,
—_ BANKRUPTCY CASE #20-16375-TBM Account Number:
— - 730 S JASON ST UNIT 18 REED) 2987
DENVER CO 80223-2832 Statement Period:
Dec 1, 2020
through
Dec 31, 2020

a Page 2 of 7

 
  

 

 

U.S. Bank National Association . Account Numbe sage 2987

 

 

 

Account Summary
# Items
Beginning Balance on Dec 1 $ 32,127.89 Number of Days in Statement Period 31
Customer Deposits 4 59,464.23
Other Deposits 7 24,557.79
Other Withdrawals 26 56,814.57-
Checks Paid 24 55,381.98-
Ending Balance on Dec 31, 2020 $ 3,953.36
Customer Deposits .
Number Date Ref Number Amount Number Date Ref Number Amount
Dec 7 8055032699 16,580.60 Dec 14 8056839893 18,000.00
Dec 11 9253166465 18,836.27 Dec 18 9254098883 6,047.36
Total Customer Deposits $ 59,464.23
Other Deposits
Date Description of Transaction Ref Number Amount

 

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Transfer From Account 103686460959

      

 

 

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Dec 30 Mobile Banking Transfer From Account 103686460959 5,000.00
Total Other Deposits $ 24,557.79

Other Withdrawals

Date Description of Transaction Ref Number Amount

Dec 1 Ext TFR Withdrawal VECTBK CK WEBXFR $ 4,666.01-

    

  

3770527921 FEE $03.00

    

 

Dec 8 Electronic Withdrawal To GOOGLE 284, 14-
REF=203420184458550N00 F770493581APPS_COMMEUSO02N3IH2 :

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Dec 11. Zelle Instant PMT To GARY ELLIS 1,079.30-
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Dec 14 Mobile Banking Transfer To Account 103686460959

 

 

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ESTATE OF PRO SOURCE OF DENVER INC Business Statement
DEBTOR IN POSSESSION

BANKRUPTCY CASE # 20-16375-TBM Account eeooey
730 $ JASON ST UNIT 18 ae”

DENVER CO 80223-2832 Statement Period:

Dec 1, 2020

through

Dec 31, 2020

Page 3 of 7

 

  
   

_ Account Numbexiiae®-2937

Other Withdrawals (continued)

Date Description of Transaction Ref Number Amount

Dec 22 Zelle Instant PMT To STEPHANIE MARTIN 1,000.00-
On 12/22/20 PMT ID=USBsFaU1 Dok.

 

Dec 23 Mobile Banking T To Account 103686460959

 

HANCOCK WHITNEY BA 201224021098 15,065.31-

 

Total Other Withdrawals $ 56,814.57-

Checks Presented Conventionally

 

 

 

 

 

Check Date Ref Number Amount Check Date Ref Number Amount

0000 Dec 4 9255105224 590.00 20010* Dec 17 8954623540 1,740.00

0000* Dec 1 8357135931 790.00 20011 Dec 21 8057143760 850.04

0000* Dec 9 8654959828 1,050.00 20012 Dec 24 8954695894 420.00

o0000* Dec 4 9253546398 1,180.00 20013 Dec 23 8654519287 2,511.06

0000* Dec 1 8355327183 1,500.00 20014 Dec 29 8354533098 5,665.79

0000* Dec 7 8057217054 1,896.86 20015 Dec 23 8655344909 730,00

0000* Dec 1 8357403132 2,750.00 20016 Dec 23 8655344929 880.00

20001* Dec 29 8357239323 1,145.00 20017 Dec 30 8654325810 2,000.00

20002 Dec 9 8654959234 577.26 20018 Dec 30 8653666178 18,836.27

20003 Dec 9 8654129965 940.00 20019 Dec 30 8655531345 800.00

20004 Dec 11 9253073805 700.00 20020 Dec 31 8955479399 2,889.70

20008* Dec 16 8652820782 2,750.00 20022* Dec 31 8955237808 2,190.00
* Gap in check sequence Conventional Checks Paid (24) $ 55,381.98-

Balance Summary

Date Ending Balance Date Ending Balance Date | Ending Balance

Dec 1 22,421.88 Dec 11 47,479.55 .Dec 22 51,972.70

Dec 2 26,421.88 Dec 14 59,517.34 Dec 23 44,465.43

Dec 4 23,651.88 Dec 15 59,292.34 - Dec 24 28,980.12

Dec 7 32,235.62 Dec 16 56,542.34 Dec 28 28,480.12

Dec 8 31,951.48 Dec 17 44,275.38 Dec 29 21,669.33

Dec 9 27,382.90 Dec 18 48 822.74 Dec 30 9,033.06

Dec 10 28,432.90 - Dec 21 47,972.70 Dec 31 3,953.36

Balances only appear for days reflecting change.
+ san TBM Doc#:103 Filed:01/21/21 Entered:01/21/21 13:18:26 Page15 of 22

ESTATE OF PRO SOURCE OF DENVER ING Business Statement
DEBTOR IN POSSESSION A ;
BANKRUPTCY CASE # 20-16375-TBM counuuumss
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DENVER CO 80223-2832 Statement Period:
Dec 1, 2020
through
Dec 31, 2020

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DEBTOR IN POSSESSION

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° DEBTOR IN POSSESSION .
BANKRUPTCY CASE # 20-16375-TBM Account Number:

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DENVER CO 80223-2832 Statement Period:

Dec 1, 2020

through

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Page 5 of 7

 

 

 

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ESTATE OF PRO SOURCE OF DENVER INC Business Statement
DEBTOR IN POSSESSION :
BANKRUPTCY GASE # 20-16375-TBM Account Number.
730 S JASON ST UNIT 18 enmppernasite 987
DENVER CO 80223-2832 Statement Period:

Dec 1, 2020

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Page 6 of 7

 

 

 

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BANKRUPTCY CASE # 20-16575-TEM Acrount Rumber

730 § JASON ST UNIT 18 “2087
DENVER CO 80223-2832 Statement Period:

Dec 1, 2020
through
Dec 31, 2020

Page 7 of 7

 

Account Number 1-036-8580-2987

 

 

 

 

 

 

 

(Sbank Withdrawal Upbank Withdrawal
12/11/20 10:46 AM MST 12/18/20 3:02 PM MST
*PRO SOURCE OF DENVER INC *PRO SOURCE OF DENVER INC
Withdrawal Total: $ 1,000.00 Withdrawal Total: $ 1,000.00
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46377 145* Dec 11 1,000.00 49876097* Dec 18 1,000.00
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Withdrawal Total: $ 2,000.00

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tba Business Statement

 

n e- Account Number:
P.O. Box 1800 SEE 3.266
Saint Paul, Minnesota 55101-0800 Statement Period:
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ESTATE OF PRO SOURCE OF DENVER INC a To Contact U.S. Bank
DEBTOR IN POSSESSION . /
BANKRUPTCY CASE # 20-16375-TBM 24-Hour Business
730 S JASON ST UNIT 18 Solutions: 1-800-673-3555
DENVER CO 80223-2832
U.S. Bank accepts Relay Calls
Internet: usbank.com

 

 

 

 

Price changes for U.S. Bank Business Checking, Savings and Treasury Management Services are effective Jan. 1, 2021.
You can view revised pricing (only those prices that changed) at https://cashmgmt.usbank.com/repricing beginning Dec. 1, 2020.
Please enter the Access Code listed below to view price changes that may apply. If you experience difficulty accessing this
information, please call Customer Service at the number listed in the upper right corner of this statement or send an email to
commercialsupport@usbank.com.

Access Code: EE-6768-18A5-7FB8

 

Thank you for choosing U.S. Bank. We would like to inform you of upcoming changes that may impact your account. The chart
below lists account modifications that go into effect beginning January 1, 2021.

To determine if these changes will impact you, review the 'Analysis Service Charge Detail’ section of this statement for your
current usage of these services. This is typically found on the last page.

If you have any questions or would like to discuss your account options, please call us at 1.800.673.3555. We accept relay
calls.

 

 

 
BALANCE YOUR ACCOUNT
To keep track of all your transactions, you should balance your account every month. Please
examine this statement immediately. We will assume that the balance and transactions shown are

correct unless you notify us of an error.

Sbank. Doc#:103 Filed:01/21/21 Entered:01/21/21 13:18:26 Page20 of 22

Outstanding Deposits
TE , 1. List any deposits that do not appear on your statement in the Outstanding Deposits section at

the left. Record the total.

2. Check off in your checkbook register all checks, withdrawals (including Debit Card and ATM)
and automatic payments that appear on your statement. Withdrawals that are NOT checked off

 

AL should be recorded in the Outstanding Withdrawals section at the left. Record the total.
Outstanding Withdrawals Enter the ending balance shown on this Statement. $.
TE Enter the total deposits recorded in the Outstanding Deposits section. $
Total lines 3 and 4. $

Enter the total withdrawals recorded in the Outstanding Withdrawals section. $

Subtract line 6 from line 5. This is your balance. $

2 NOM A w

Enter in your register and subtract from your register balance any checks, withdrawals or other
debits (including fees, if any) that appear on your statement but have not been recorded in your
register.

8. Enter in your register and add to your register balance any deposits or other credits (including
interest, if any) that appear in your statement but have not been recorded in your register.

10. The balance in your register should be the same as the balance shown in #7. If it does not
match, review and check all figures used, and check the addition and subtraction in your register.
If necessary, review and balance your statement from the previous month.

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IMPORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS
In Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers
If you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days* after we sent you
the FIRST statement on which the error or problem appeared. Telephone us at the number listed on the front of this statement or write to us at U.S. Bank, EP-MN-WS5D, 60 Livingston
Ave., St. Paul, MN 55107. :
« Tell us your name and account number.
« Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need more information.
« Tell us the dollar amount of the suspected error.
We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time, we may take up to 45 days to
investigate your complaint. For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint. If we decide to do this,
we will credit your account within 10 business days for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation. If
we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account.

*Please note: Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement.

IMPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS
Errors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, including the
rules of the National Automated Ciearing House Association (NACHA Rules) as may be amended fram time to time. If you think this statement is wrong, please telephone us at the number

listed on the front of this statement immediately.

CONSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE .
What To Do Ff You Think You Find A Mistake on Your Statement

If you think there is an error on your statement, write to us at:

U.S. Bank, P.O. Box 2528, Oshkosh, WWI 54903-3528,

In your letter, give us the following information:

» Account information: Your name and account number.

© Dollar Amount: The dollar amount of the suspected error.

¢ Description of problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.

You must contact us within 60 days after the error appeared on your statement.
You must notify us of any potential errors in writing. You may call us, but if you do we are not required to investigate any potential errors and you may have to pay the amount in question.

While we investigate whether or not there has been an error, the following are true:

« We cannot try to collect the amount in question, or report you as delinquent on that amount.
« The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to

pay the amount in question or any interest or other fees related to that amount.
» While you do nat have to pay the amount in question, you are responsible for the remainder of your balance.
e We can apply any unpaid amount against your credit limit.
Reserve Line Balance Computation Method: To determine your Balance Subject to Interest Rate, use the dates and balances provided in the Reserve Line Balance Summary section.
The date next to the first Balance Subject to Interest is day one for that balance and is applicable up to (but not including) the date of the next balance (if there is one). We multiply the
Balance Subject to Interest by the number of days it is applicable and add them up to get the same number of days in the billing cycle. We then divide the result by the number of billing
days in the cycle. This is your Balance Subject to Interest Rate. Any unpaid interest charges and unpaid fees are not included in the Balance Subject to Interest. The **INTEREST
CHARGE*™ begins from the date of each advance.

REPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.

CONSUMER REPORT DISPUTES

We may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA). As a result, this
may prevent you from obtaining services at other financial institutions. If you believe we have inaccurately reported information to a CRA, you may submit a dispute by calling 844.624.8230
or by writing to: U.S. Bank Attn: Consumer Bureau Dispute Handling (CBDH), P.O. Box 3447, Oshkosh, WI 54903-3447. In order for us to assist you with your dispute, you must provide:
your name, address and phone number, the account number; the specific information you are disputing; the explanation of why it is incorrect; and any supporting documentation (e.g.,

affidavit of identity theft), if applicable.

EQUAL HOUSING

Member FDIC
20-16375-TBM Doc#:103 Filed:01/21/21 Entered:01/21/21 13:18:26 Page21 of 22
tSban ESTATE OF PRO SOURCE OF DENVER INC Business Statement

DEBTOR IN POSSESSION , Account Number:

— eae aaa SeNIUND 266
a DENVER CO 80223-2832 Statement Period:
— Dec 1, 2020
through

Dec 31, 2020

   

Page 2 of 3

 
 
 

 

U. _B ional Assoc
Account Summary

  

 

# Items
Beginning Balance on Dec 1 $ 4,439.44 Number of Days in Statement Period 31
Other Withdrawals 2 4,334.00-
Ending Balance on Dec 31, 2020 $ 105.41
Other Withdrawals
Date Description of Transaction Ref Number Amount

 

   

   

Dec 2 Internet Banking Transfer To Account 103685802987 $ 4,000.00-

 

 

 

Total Other Withdrawals $ 4,334.00-
Balance Summary
Date Ending Balance Date Ending Balance
Dec 2 ' 439.41 Dec 14 105.41

Balances only appear for days reflecting change.

 

 

 

 

Account Number: 1-036-8580-3266 $ 0.00
Account Number: 1-036-857 1-6468 $ 0.00
Account Number: 1-036-8580-2987 $ 334.00
Analysis Service Charge assessed to 1-036-8580-3266 g 334.00
Service Activity Detail for Account Number 1-036-8571-6468
Service Volume Avg Unit Price Total Charge
Depository Services
Combined Transactions/Items 1 No Charge

  
 

 
 

Subtotal: Depository Services

 

 

Fee Based Service Charges for Account Number 1-036-857 1-6468 $ 0.00
Service Activity Detail for Account Number 1-036-8580-2987 7
Service Volume Avg Unit Price Total Charge
Depository Services
Combined Transactions/Items 30 No Char

 
 
 

 
 

 

Manual Stop Payment-24 Months 8 35.00000 280.00
Subtotal: Depository Services 294.00

ACH Services
ACH Stop Payment 1 40.00000 40.00
Subtotal: ACH Services 40.00
Fee Based Service Charges for Account Number 1-036-8580-2987 $ 334.00

Service Activity Detail for Account Number 1-036-8580-3266

Service Volume Avg Unit Price Total Charge

 

Depository Services
Combined Transactions/Items 4 No Charge
og 16375-GBM Doc#:103 Filed:01/21/21 Entered:01/21/21 13:18:26 Page22 of 22
tSbank ESTATE OF PRO SOURCE OF DENVER ING Business Statement
2 DEBTOR IN POSSESSION Account Number:

BANKRUPTCY CASE # 20-16375-TBM 566
730 S JASON ST UNIT 18 ene

DENVER CO 80223-2832 Statement Period:
Dec 1, 2020

through

Dec 31, 2020

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Service Activity Detail for Account Number 1-036-8580-3266 (continued)
Service Volume Avg Unit Price Total Charge

Subtotal: Depository Services 0.00
Fee Based Service Charges for Account Number 1-036-8580-3266 $_ 0.00

 
